                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION


INRE:                                                 )
                                                      )
CAMP LEJEUNE WATER LITIGATION                         )
                                                      )
THIS ORDER RELATES TO:                                )
7:23-CV-00569-BO;    7:23-CV-01482-BO                 )
7:23-CV-00096-BO;    7:23-CV-00885-BO                 )
7:23-CV-00742-BO;    7:23-CV-01534-BO                 )
7:23-CV-00277-BO;    7:23-CV-01058-BO                 )
7:23-CV-0l 044-BO;   7:23-CV-00899-BO                 )
7:23-CV-01553-BO;    7:23-CV-00242-BO                 )
7:23-CV-01529-BO;    7:23-CV-01528-BO                 )
7 :23-CV-00280-BO;   7:23-CV-00957-BO                 )
7:23-CV-00043-BO;    7:23-CV-00063-BO                 )
7:23-CV-01458-BO;    7:23-CV-00905-BO                 )
7:23-CV-01173-BO;    7:23-CV-01551-BO                 )
7:23-CV-01368-BO;    7:23-CV-00894-BO                 )
7 :23-CV-00023-BO;   7:23-CV-01031-BO                 )
7:23-CV-01586-BO;    7:23-CV-01142-BO                 )
7:23-CV-01418-BO;    7:23-CV-01310-BO                 )
7:23-CV-01158-BO;    7:23-CV-01141-BO                 )
7:23-CV-01142-BO;    7:23-CV-00535-BO                 )
7 :23-CV-01418-BO;   7:23-CV-00452-BO                 )
4:23-CV-00062-BO;    7:23-CV-01310-BO                 )
7:23-CV-01158-BO;    7:23-CV-01141-BO                 )


        A hearing will be held before the undersigned on Wednesday, January 24, 2024, in courtroom

two on the 7th floor of the Terry Sanford Federal Building and United States Courthouse, 310 New

Bern Avenue, Raleigh, North Carolina 27601 beginning at 2:00 p.m. The Court will inquire as to

the prospect of intermediate settlement in the above-captioned cases.

        Any counsel in attendance are encouraged to confer with their clients in advance of the

hearing to explore the party's settlement position.




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SO ORDERED. This   ..i:_day of January, 2024.
                                                ~~/St~
                                                TRRENCE w. BOYLE             -   /   ...
                                                United States District Judge




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